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                          United States District Court
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


 UNITED STATES OF AMERICA                      §
                                               §
 vs.                                           §                      Case No. 4:01cr29(5)
                                               §                            (Judge Brow n)
 SYLVIA JEAN ANDREWS                           §

                          REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’ s supervised

 release. After the District Court referred the matter to t his Court for a report and

 recommendation, the Court conducted a hearing on March 29, 2005 to determine

 w het her Defendant violated her supervised release. Defendant w as represented by

 Bob Jarvis. The Government w as represented by Heather Rattan.

        On Sept ember 2 8 , 2 0 0 1 , Def endant w as sent enced by the Honorable Paul Brow n

 t o 6 0 m ont hs cust ody f ollow ed by a t hree year t erm of supervised release f or t he

 of f ense of dist ribut ion of cocaine base. On Oct ober 4 , 2 0 0 4 , Defendant completed her

 period of imprisonment and began service of her supervised term .

        Thereaf t er, on March 11, 2005, the United States Probation Officer filed a

 Petition for Warrant or Summons for Of f ender Under Supervision.               The petition

 asserted that Defendant violated the follow ing conditions: (1) Defendant shall refrain

 from any unlaw ful use of a controlled substance; and (2) Defendant shall not purchase,

 possess, use, distribute, or administer any controlled substance or any paraphernalia

 related to such substances, except as prescribed by a physician.

        The petition alleges that Defendant submitted urine specimens on January 14,
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     2005, February 4, 2005, February 8, 2005, February 14, 2005, and February 15,

     2005, all of w hich tested positive for cocaine.

           Prior to putting on evidence, counsel for the parties conferred and agreed that

     the hearing should be continued indefinitely.

                                      RECOMMENDATION

           This Court finds that the Final Revocation Hearing should be continued

     indefinitely. The Court recommends that Defendant be placed in a comprehensive

     sanction center and successfully participate in the comprehensive sanction center

     program for 180 consecutive days.

           Within ten (10) days aft er receipt of the magistrate judge' s report, any party

     may serve and file w rit t en objections to the findings and recommendations of the

     magistrate judge. 28 U.S.C.A. § 636(b)(1)(C).

           Failure to file w ritten objections to the proposed findings and recommendations

     contained in this report w ithin ten days after service shall bar an aggrieved party from

     de novo review by the district court of t he proposed findings and recommendations
.
     and from appellate review of factual findings accepted or adopted by the district court

     except on grounds of plain error or manifest injustice. Thomas v. Arn, 474 U.S. 140,

     148 (1985); Rodriguez v. Bow en, 857 F.2d 275, 276-77 (5th Cir. 1988).


          SIGNED this 22nd day of April, 2005.

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                                             ____________________________________
                                             DON D. BUSH
                                             UNITED
                                                2    STATES MAGISTRATE JUDGE
